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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA, et al.,

                                 Plaintiffs,          Case No. 1:20-cv-03010-APM

 v.                                                   HON. AMIT P. MEHTA

 GOOGLE LLC,

                                 Defendant.




 STATE OF COLORADO, et al.,

                                 Plaintiffs,          Case No. 1:20-cv-03715-APM

 v.                                                   HON. AMIT P. MEHTA

 GOOGLE LLC,

                                 Defendant.


      CONSENT NOTICE OF DEFENDANTS’ EXHIBITS OFFERED FOR ADMISSION

           Without opposition, Defendant Google LLC offers for admission into evidence the

following remedies trial exhibits to which Plaintiffs made no specific objection or withdrew their

objection:

      •    RDX0104

      •    RDX0135

      •    RDX0179

      •    RDX0182

      •    RDX0403A
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       The following exhibit is offered into evidence subject to Plaintiffs standing objection to any

embedded hearsay contained within:

           •   RDX0119

Dated: May 8, 2025                              Respectfully submitted,

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